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                                                                   1   Jeffrey W. Dulberg (CA State Bar No. 181200)
                                                                       John Lucas (CA State Bar No. 271038)
                                                                   2   Jeffrey P. Nolan (CA State Bar No. 158923)
                                                                       Pachulski Stang Ziehl & Jones LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: jdulberg@pszjlaw.com
                                                                                 jlucas@pszjlaw.com
                                                                   6             jnolan@pszjlaw.com

                                                                   7   Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   8                                 UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11    In re                                           Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                        LESLIE KLEIN,                                   Chapter 11
                                        LOS ANGELES, CALIFORNIA




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                                                                                          Debtor.                       LIMITED OBJECTION OF CHAPTER 11
                                                                  14                                                    TRUSTEE TO MOTION OF KOGAN LAW
                                                                                                                        FIRM, APC FOR AN ORDER
                                                                  15                                                    AUTHORIZING WITHDRAWAL OF
                                                                                                                        COUNSEL OF DEBTOR
                                                                  16
                                                                                                                         Date:         October 18, 2023
                                                                  17                                                     Time:         9:00 am
                                                                                                                         Courtroom:    1575
                                                                  18                                                     Location:     255 E. Temple Street
                                                                                                                                       Los Angeles, CA 90012
                                                                  19                                                     Judge:        Hon. Sandra R. Klein

                                                                  20            Bradley D. Sharp, the duly appointed chapter 11 trustee (the “Trustee”) of the bankruptcy

                                                                  21   estate of Leslie Klein (the “Debtor”), hereby files this limited objection (the “Limited Objection”) to

                                                                  22   the Motion of Kogan Law Firm, APC for an Order Authorizing Withdrawal of Counsel of Debtor

                                                                  23   [Docket No. 393] (the “Motion”). In support of the Limited Objection, the Trustee represents as

                                                                  24   follows:

                                                                  25            As the Court is aware, prior to and after the appointment of the Trustee, the Debtor’s chapter

                                                                  26   11 case has been punctuated with the Debtor’s blatant disregard for the bankruptcy process that the
                                                                  27   Debtor voluntarily filed for the purpose of restructuring his financial obligations. After the Trustee’s
                                                                  28
                                                                       appointment, he has not been successful obtaining documents, information, and answers from the
                                                                                                                      1
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                                                                   1   Debtor, through counsel or otherwise. Consequently, the Trustee initiated his own discovery and
                                                                   2   investigation seeking to compile the information necessary to address the demands and disclosures
                                                                   3
                                                                       required for the administration of the bankruptcy case, preservation of assets, and distributions to the
                                                                   4
                                                                       holder of allowed claims.
                                                                   5
                                                                               The Motion documents some of the Debtor’s delay and recalcitrance to fulfill his duties as a
                                                                   6

                                                                   7   debtor but fails to identify or substitute new counsel in the place of the Kogan Law Firm. Instead,

                                                                   8   the Kogan Law Firm proposes that the Debtor could just as well represent himself because he is an

                                                                   9   attorney.
                                                                  10           The Trustee files this Limited Objection to the Motion to guard against the Debtor using the
                                                                  11
                                                                       withdrawal of his current counsel (who has never filed a retention application) as a mechanism to
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                                                                  12
                                                                       continue the Debtor’s ongoing delay of numerous pending matters thereby further frustrating the
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                                                                       bankruptcy process, wasting estate assets, and further prejudicing the rights of creditors.
                                                                  14

                                                                  15           The Relief Requested Should be Conditioned on the Timely Compliance with
                                                                         Pending Matters and the Preservation of All Records and Communications with the Debtor
                                                                  16
                                                                               The decision to grant or deny a motion to withdraw as counsel, is committed to the sound
                                                                  17
                                                                       discretion of the trial court. See Monclova-Chavez v. McEachern, 2018 U.S. Dist. LEXIS 76954, *5-
                                                                  18

                                                                  19   6 ((E.D. Cal 2018) citing to See LaGrand v. Stewart, 133 F.3d 1253, 1269 (9th Cir. 1998); Rus,

                                                                  20   Millband & Smith v. Conkle & Olesten, 113 Cal. App. 4th 656, 673, 6 Cal. Rptr. 3d 612 (2003).

                                                                  21   Courts may consider the following factors in ruling on a motion for permissive withdrawal: “1) the
                                                                  22   reasons why withdrawal is sought; 2) the prejudice withdrawal may cause to other litigants; 3) the
                                                                  23
                                                                       harm withdrawal might cause to the administration of justice; and 4) the degree to which withdrawal
                                                                  24
                                                                       will delay the resolution of the case.” Monclova-Chavez v. McEachern, 2018 U.S. Dist. LEXIS
                                                                  25
                                                                       76954, *5-6 (E.D. Cal 2018) (citing to CE Res., Inc. v. Magellan Grp., LLC, 2009 U.S. Dist. LEXIS
                                                                  26

                                                                  27   100776, *2 (E.D. Cal. Oct. 14, 2009).

                                                                  28

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                                                                   1           The Motion is made without the apparent consent of the Debtor, without the selection of new
                                                                   2   counsel, and frames the issues as a break-down of the attorney client communications, action or
                                                                   3
                                                                       inaction of the Debtor (Decl., §12), lack of agreement between counsel and Debtor such that Debtor
                                                                   4
                                                                       has failed to respond to various issues in the bankruptcy case (Decl., §12), lack of responsiveness by
                                                                   5
                                                                       the Debtor especially as to key goals in the bankruptcy case, and the inability to act as counsel and
                                                                   6

                                                                   7   simultaneously serve as an officer of the Court. (Motion, Dkt No. 393, Decl., §15-16)

                                                                   8           First, it should be clear from the pleadings filed to date that the Trustee has not received any

                                                                   9   cooperation from the Debtor regarding estate assets, claims against the estate, and basic disclosures
                                                                  10   that are required by all debtors in a bankruptcy case. It is the debtor’s duty to provide a trustee
                                                                  11
                                                                       information regarding property of the estate, claims against the estate, and any defenses for the
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                                                                  12
                                                                       purpose of administering the bankruptcy case. Clippard v. Russell (In re Russell), 392 B.R. 315, 358
                                        LOS ANGELES, CALIFORNIA




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                                                                       (Bankr. E.D. Tenn. 2008).
                                                                  14

                                                                  15           If the Motion is granted the Debtor will need to retain his third bankruptcy counsel while

                                                                  16   numerous matters are pending and nearly 33% of the statutory period to commence avoidance

                                                                  17   actions has passed without the Debtor complying with his statutory duties to provide information and
                                                                  18
                                                                       cooperate with the Trustee who is administering the Debtor’s bankruptcy estate.
                                                                  19
                                                                               The Trustee has encountered this delay, filed numerous pleadings resulting in court orders,
                                                                  20
                                                                       and made demands requiring the disclosure of information from the Debtor and counsel on a variety
                                                                  21
                                                                       of topics that include:
                                                                  22

                                                                  23                         The factual and legal basis for the Vago appeal not later than October 13, 2023.

                                                                  24                         Bankruptcy Rule 2004 Order for the deposition of the Debtor’s law firm where
                                                                                              the Debtor is scheduled to be examined as the person most knowledgeable
                                                                  25
                                                                                             Execution of a tolling agreement involving the delayed examination of the Debtor
                                                                  26                          as the person most knowledgeable as a result of the Debtor’s absence from the
                                                                                              country.
                                                                  27
                                                                                             Review and processing of imaged documents from electronic devices.
                                                                  28
                                                                                             Production of 2022 tax returns
                                                                                                                           3
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                                                                   1                         Disclosure of the source of income for Debtor’s current overseas trips.

                                                                   2           The withdrawal of the Kogan Law Firm as counsel, with no specified replacement, will lead
                                                                   3   to more delay jeopardizing disclosures and production of information, the identification of assets,
                                                                   4
                                                                       and the ability of the Trustee to pursue and preserve assets for the benefit of the estate.
                                                                   5
                                                                               As a condition to granting the Motion, substitute counsel must be retained by the Debtor or
                                                                   6
                                                                       the Debtor designated as representing himself in this case (including designating an address for
                                                                   7

                                                                   8   service of process for pleadings). In the interim, the Kogan Law Firm must remain as counsel so that

                                                                   9   all of the scheduled matters are not delayed. In ruling on a motion for permissive withdrawal, the

                                                                  10   Court is well within its authority to look at the surrounding circumstances of the case to prevent
                                                                  11   prejudice to parties, creditors and the inexcusable delay that has been a strategic ploy by the Debtor
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                                                                  12
                                                                       since the petition date.
                                        LOS ANGELES, CALIFORNIA




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                                                                               Second, the Trustee believes that as a fiduciary of the Debtor’s estate and to his creditors, the
                                                                  14
                                                                       Trustee is entitled to all documents and information in the possession or control of the Kogan Law
                                                                  15

                                                                  16   Firm that relates to property of the estate or claims against the Debtor’s estate, even documents or

                                                                  17   information that is subject to any attorney client privilege between the Debtor, the Kogan Law Firm,

                                                                  18   or any other legal representative of the Debtor. The withdrawal of the Kogan Law Firm as counsel
                                                                  19
                                                                       to the Debtor should also be conditioned on the Kogan Law Firm’s preservation of all documents
                                                                  20
                                                                       and information (including attorney/client information and communications) in the possession or
                                                                  21
                                                                       control of the Kogan Law Firm in the event the Trustee seeks discovery from the Kogan Law Firm
                                                                  22
                                                                       for the benefit of the Debtor’s estate.
                                                                  23

                                                                  24   Dated: October 11, 2023                   PACHULSKI STANG ZIEHL & JONES LLP
                                                                  25
                                                                                                                 By: /s/ John W. Lucas
                                                                  26                                                    Jeffrey W. Dulberg
                                                                                                                        John W. Lucas
                                                                  27                                                    Jeffrey P. Nolan

                                                                  28                                                    Attorneys for Bradley D. Sharp, Chapter 11 Trustee

                                                                                                                           4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): LIMITED OBJECTION OF CHAPTER 11
TRUSTEE TO MOTION OF KOGAN LAW FIRM, APC FOR AN ORDER AUTHORIZING
WITHDRAWAL OF COUNSEL OF DEBTOR will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 11, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 11, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 11, 2023, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Federal Express                                                           Via Email:
Honorable Sandra R. Klein                                                     Simon Aaron on behalf of Kenneth Klein and
United States Bankruptcy Court/Central District of California                 Shoshana Shrifa Klein--saron@wrslawyers.com;
Edward R. Roybal Federal Building and Courthouse                              moster@wrslawyers.com
255 E. Temple Street, Suite 1582 / Courtroom 1575
Los Angeles, CA 90012                                                         Leslie Klein les.kleinlaw@gmail.com

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 11, 2023                       Mary de Leon                                            /s/ Mary de Leon
 Date                           Printed Name                                                    Signature




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ADDITIONAL MAILING INFORMATION FOR Case 2:23-bk-10990-SK

       Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
       Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
       Ron Bender rb@lnbyg.com
       Michael Jay Berger michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
       Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Theron S Covey tcovey@raslg.com, sferry@raslg.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Dane W Exnowski dane.exnowski@mccalla.com,
        bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
       Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
       Michael S Kogan mkogan@koganlawfirm.com
       Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
       John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
       Ron Maroko ron.maroko@usdoj.gov
       Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
       Steven M Mayer smayer@mayerlawla.com
       Krikor J Meshefejian kjm@lnbyg.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Jeffrey P Nolan jnolan@pszjlaw.com
       Eric J Olson eric@ejolsonlaw.com
       Jeffrey N Pomerantz jpomerantz@pszjlaw.com
       Brian A Procel bprocel@millerbarondess.com,
        rdankwa@millerbarondess.com;docket@millerbarondess.com
       Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
       Mark M Sharf (TR) mark@sharflaw.com,
        C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
       Bradley D. Sharp (TR) bsharp@dsi.biz
       Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
       Alan G Tippie Alan.Tippie@gmlaw.com,
        atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@g
        mlaw.com
       Gary Tokumori gtokumori@pmcos.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Michael L Wachtell mwachtell@buchalter.com
       John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
       Brett J. Wasserman wasserman@smcounsel.com
       Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
       Paul P Young paul@cym.law, jaclyn@cym.law

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       Roye Zur rzur@elkinskalt.com,
        cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com

2. SERVED BY UNITED STATES MAIL:

 Peter C. Anderson, U.S. Trustee                                                   Nathan Talei
 Michael Jones, Assistant U.S. Trustee                                             Oldman, Sallus & Gold, L.L.P.
 Office of the U.S. Trustee                                                        16133 Ventura Blvd., PH-A
 915 Wilshire Boulevard, Suite 1850                                                Encino, CA 91436
 Los Angeles, CA 90017

Leslie Klein & Associates, Inc.                                                    Leslie Klein
c/o Parker Milliken                                                                322 N. June Street
555 Flower Street                                                                  Los Angeles, CA 90001
Los Angeles, CA 90071




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